                           Case 3:03-cr-00188-GAG                      Document 399           Filed 03/08/06        Page 1 of 6
 qAO 2458           (Rev.06/05)Judgmentin a
                    SheetI



                                                   NITED STETBSDNTRICT COUNT
                              FOR THE                                    Districtof                            PUERTORICO
                UMTED STATESOF                                                  JUDGMENT IN A CRIMINAL CASE
                                   V.
                                                                                CaseNumber:                    03-CR-188(SEC)
                    JORGE SEG                       VERA
                         A/K/A *GO                                              USM Number:                    03

                                                                                LAURA MALDONADO
                                                                                Defendant's Attomev
THE DEFENDAITIT:
X pleadedguilty to count(s)               ONE       andTWO                          Indictnenton March 17.2004.
-.Clpleaded
          nolo contendereto count(s)
   whichwasaccepted by the court.
I wasfound guilty on count(s)
  aftera pleaof not guilty.

The defendant is adjudicated guilty of

Title & Section                                                                                                Offense Ended            Count
2l:846                                             to possesswith intentto distributeat leastfive (5) ,           3l10/2003               I
                                        but less    fifteen(15) kilogramsof cocaine.
                                        A Class " felony.
18:989                                  Forfei   Allegation.                                                                              2


     j ,
       The defendantis sentencedas                 ided in pages2 through                      of this judgment. The sentenceis imposedpursuantto
tfre SentencingReformAct of 1984.

I . t The defendant has been found not
.!
                                                    on count(s)
           ,-


ECoun(s)                                                     !    is     !   are dismissedon the motion of the United States.

                It is ordered that the defendant    rtnotifu theUnited Statesafforneyfor this district within 30 daysof anychangeof name,residence,
                                                    co-sts,ind specialassessments irriposedby thisjudgmentarefullypaid.-If ordEredto payrestitution,
                                                    tedstatesattomeyot rnatenalcnangesrn economrcc[cumsBnces.

                                                                                MARCH 3.2006
                                                                                Dateof Impositionof Judgment


                                                                                S/ Salvador E. Casellas
                                                                                Signatureof Judge




                                                                                SALVADORE. CASELLAS.U.S.DISTRICTJUDGE
                                                                                Name and Title of Judge



                                                                                MARCH3.2006
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AO 2458    (Rev.06/05)Judgmentin Criminal
           Sheet2 -
                                                                                                       Judgmart- PaCe -2-         of
DEFENDANT:                  JORGE    ARRA.RTVERA
CASENUMBER:                 03-cR-1 (3)(sEC)


                                                               IMPRISONMENT

            The defendant is herebv                  to the custody of the United StatesBweau of Prisons to be imprisoned for a
total term of:


FORTY EIGHT (48) M                          asto 03-CR-188(3)(SEC)and TIME SERVEDasto 04-CR-019(4XDRD)


       n    The court makesthe               recommendationsto the Bureau of Prisons:




 l.;



       X    The defendant is remanded        the custody of the United StatesMarshal.


       n    The defendantshall               to the United StatesMarshal for this district:

           lat                                   I      a.m.     I   p.*.     on
           nas notifredby theUnited            Marshal.

       !    The defendant shall              for service of sentenceat the institution designatedby the Bureau of Prisons:

           flbefore 2 p.m. on

           las notified by the United

           las notifiedby the               or Pretial ServicesOffrce.


                                                                     RETURN
I have executedthis judgment as fol




            Defendant delivered                                                            to

                                                      , with a certified copy of this judgment.



                                                                                                     LINITED STATESMARST{AL


                                                                            By
                                                                                                  DEPUTYUNITED STATESMARSHAL
                            Case 3:03-cr-00188-GAG                 Document 399             Filed 03/08/06          Page 3 of 6
AO 2458         (Rev.06/05)Judgmentin a
                Sheet 3 -   Supervised Release
                                                                                                               Judgmart-Page -3-        of -6-
DEFENDANT:                        JORGE                  .RTVERA
CASENUMBER:                       03-cR-188) (sEC)
                                                             SUPERVISEDRELEAqE
Uaon releasefrom imprisonment,the                                            releasefor a termof:
                                                  fendantshallbe on supervised
FM (5) YEARS as to count                                                 and FOUR (4) YEARS asto countone(1) on 04-
                                                  e (1) on 03-CR-188(3XSEC)
CR-019(4XDRD),saidterms                           be served CONCURRENTLYwith eachother.

     The defendantmustreport the probation office in the district to which the defendantis releasedwithin 72hows
of releasefrom the custodYof  Buieau of Prisons.
The defendantshall not commit                             federal, stateor local crime.
The defendantshall not unlawfu                      possessa controlled substance.The defendantshall refrain from any unlawful
useof a controlledsubstance. defendantshall submit to one drug test within 15 days of releasefrom
imprisonmentandat leasttwo iodic drugteststhereafter,asdeterminedby the court.
 n          The abovedrug testingcondition suspended,                               thatthe defendantposesa low risk of
                                                     basedon the court'sdetermination
            futuresubstanceabuse.(Chec( applicable.)
X           The defendantshallnot possess frearrq ammunition, destructivedevice, or any other dangerousweapon. (Check, if applicable.)
X           The defendant shall cooperate in        collection of DNA as directed by the probation officer. (Check, if applicable.)

 !          The defendantshall register with       statesexoffenderregistrationagencyin the statewherethe defendantresides,works,or is a
            student,asdirectedby the               officer. (Check,if applicable.)
 n          The defendantshallparticipatei an approvedprogmm for domestic violence. (Check, if applicable.)
     If this iudsment irmoses a fine             restitution, it is a condition ofsupervised releasethat the defendantpay in accordancewith the
 Scheduleof Palments slieet of this j
    The defendantmust conply with                   standardconditionsthat havebeenadoptedby this court aswell aswith any additionalconditions
oqthe attachedpage.

                                                 ANDARD CONDITIONS OF SUPERVISION
      l)     the defendantshall not leave        judicial district without the permission of the court or probation officer;

     2)'     the defendant shall report to       probation officer and shall submit a truthful and complete written report within the first five days of
             each month:
     3) the defendant shall answer                   all inquiriesby the probationofficer and follow the instuctions of the probationofficer;
     4) the defendantshall supporthis             her dependentsandmeetotherfamily responsibilities;
     s) the defendantshall work                     at a lawful occupation, unless excusedby the probation officer for schooling, training, or other
             acceptablereasons;
      6)     the defendantshall notifu the              offrcer at least ten days prior to any change in residence or employment;
     7)      the defendantshall refrain          excessiveuse ofalcohol and shall not purchase,possess,use, distribute, or administer any
             controlledsubstance  or anv         rphernaliarelated to any conholled substances,eicept as prescribed by a physician;
             the defendant shall not             places where controlled substancesare illegally sold, used, distributed, or administered;
     .18)
      e) the defendantshall not assoc            with any personsengagedin criminal activity and shall not associatewith any person convicted of a
 t.i,i
             felony,unlessgranted                r to do io'by the probaEon officer;
     l0)     the defendantshall permit a pn        ion officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             confrabandobservedin plain v           of the probation officer;
     1 1 ) the defendantshallnotifu the             ion officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     r2) the defendant shall not enter i           any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and

     13) as directed by the probation ot           . the defendantshallnotifu third partiesof risks thatmaybe occasionedby the defendant'scriminal
             record or peisona'l history or        iactglisticsand shall penirit the probation officer to riake such notificitions and to confirm the
             defendantrscompliance vi ith r        notificationrequirement.
                  Case 3:03-cr-00188-GAG                 Document 399        Filed 03/08/06      Page 4 of 6
AO 2458   (Rev. 06/05) Judgmentin a
          Sheet3A - Supervised  Release
                                                                                             Judgment-Page         of ---0-
DEFENDANT:              JORGE             ARRA.RIVERA
CASENI.IMBER:           03-cR-188XSEC)

                                           ITIONAL SUPERVISEDRELEASE TERMS

1. The defendantshall not                   anotherFederal,state,or local crime, and observethe standardconditions of
supervisedrelease                         by the United StatesSentencingCommission and adoptedby this Honorable
'portt.

2. The defendantshall not                   possessing                                           weapons.
                                                     frrearms,destructivedevices,andotherdangerous

3. The defendantshallnot unla   possess conholledsubstances,   shallrefrain from the unlawful useof controlled
substances, and submitto a drug within fifteen (15) days of release.Thereafter, the defendant shall submit to random
testingnot to exceed104samples year accordancewith the Drug Aftercare Policy Program adoptedby the Court. If any
such samplesdetect substance              , the defendant shall participate in a substanceabusetreatment program arrangedby U.S.
ProbationOfficer until duly di               by the Court.The defendantshallcontributeto the costof the treatmentservicesin
fhe sumof $20monthly.

4. The defendantshallsubmit                person,residence,  office or vehicleor computerto a search,conductedby a U.S.
ProbationOfficer at a                     time andin a reasonable  manner,baseduponreasonable    suspicionof contraband
<irevidenceof a violationof               ition of release.Failureto submitto a searchmaybe gounds for revocation.The
{-efendantshall warn any other                    that the premisesmaybe subjectto searches  pursuantto this condition

5. The defendantshall                     in the the collection of a DNA sampleas directed by the U.S. Probation Officer,
pursuantto theRevisedDNA                  llection Requirements,and Title 18, U.S. Code 3563 (a)(9).




!. |'t




.ir
AO 2458
                        Case 3:03-cr-00188-GAG
              (Rev.06/05)Judgmentin a Cri
                                                                    Document 399               Filed 03/08/06      Page 5 of 6
              Sheet5 - Criminal
                                                                                                         Judgment- Page       5   of --5-
DEFENDANT:                                    SEGARRA-RTVERA
CASE NUMBER:                        03-CR188(3XSEC)
                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total      inal monetary penaltiesunder the scheduleof payments on Sheet6.


                         Assessment                                             Fine                            Restitution
TOTALS                      (03-cR-88XSEC)
                     $ 100.00                                              $ 0                               $ 0
                            (04-cR 1e(DRD)
                       100.00

tr       The determinationof restitutionis                                     An AmendedJudgmentin a Criminal Case(AO 245C) will be entered
         after suchdetermination.

!        The defendant must make restitu      (including community restitution) to the following payeesin the amount listed below.

         If the defendanl makes a partial            eachoavee shall receive an approximately proportioned payment. unlessspecified otherwise in
         the nrioritv order or percentage            colunin below. However, pursuant to 18 U.S.C. $ 3664Q),-all nonfederal victims must be paid
     ,   befrire the-United Stdtesis paid.
 j



Nameof Payee                                  Total Loss*                               RestitutionOrdered                Priority or Percentase




i-'




TOTALS


!        Restitutionamountordered              to plea agreement $

!        The defendantmustpay interest        restitutionanda fine of morethan$2,500,unlesstherestitutionor fine is paid in full beforethe
         fifteenth day after the dateof the           pursuantto 18U.S.C.$ 3612(0. All of thepaymentoptionson Sheet6 maybe subject
         to penaltiesfor delinquencyand            pursuantto 18U.S.C.$ 3612(g).

tr       The court determined that the               doesnot havethe ability to pay interestandit is orderedthat:

         n    the interestrequirementis          forthe        tr       fine     !   restitution.

         !    the interest requirement for       !      fine        D     restitutionis modifiedasfollows:


* Findinss forthe total amount of losse arerequiredunderChapters
                                                             109A,110,110A,andll3,A.ofTitlel8foroffensescommittedonorafter
Septemb-er13,1994, but before April 3. 1996.
:i
 i
                Case
ebz+ss (Rev.06/05)     3:03-cr-00188-GAG
                  Judgmentin a Crimi
                                                                 Document 399             Filed 03/08/06    Page 6 of 6
             Sheet6 - Scheduleof Paymenk
                                                                                                        Judgmart- Page   6    of --0--
DEFENDANT:                 JORGE                      -RTVERA
CASEN{-]MBER:

                                                      SCHEDULEOF PAYMENTS

Having assessedthe defendant's             to pay, paymentof the total criminal monetarypenaltiesare due as follows:

A       t1   Lurnpsumpaymentof $                                 due immediately, balance due

             fl   not later than
             tr   inaccordance             C,     !    D,    D        E, ot    !     F below;or

                                                                              I C,       I D, or   ! F below);or
l n Payment to begin immediate y (maybecombinedwith
 9      !    Paymentin equal                    (e.g.,weekly,monthly,quarterly)installmentsof $                   overa periodof
                          (e.g.,months     years),to commence             (e.g.,30 or 60 days)afterthe dateof thisjudgment;or

D       !    Paymentin equal                    (e.g.,weekly,monthly,quarterly)installmentsof $                 overa periodof
                          (e.g., months    years),to cormence             (e.g.,                         from
                                                                                30 or 60 days)afterrelease    imprisonment to a
             term of supervisioq or

E       n    Payment during the termof          ised releasewill commencewithin                 (e.g., 30 or 60 days) after releasefrom
             imprisonment. The court       set the payment plan based on an assessmentof the defendant's ability to pay at that time; or

 F      !    Specialinstructions           the payrnent of criminal monetary penalties:




 Unlessthecourthasexpresslyordered herwise.if thisiudementimposesimprisonment,paymentof criminalmonetarypenaltiesis dueduring
 imprisonmenl.  *All criminal monetat penalties,
                                               excdptilrosepayments
                                                                  made  throughthe FederalBureauof Prfsons'InmateFinancial
 $e'sponsibilityPrograrq aremadeto iclerk of'theco-urt.

 The defendant shall receive credit for     paymentspreviouslymadetowardany criminal monetarypenaltiesimposed.

 tr     JointandSeveral

        Defendant and Co-DefendantN           and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and correspondingpayee, if




 n The defendant shall pay the cost         prosecuuon.

 u The defendant shall pay the                  court cost(s):

 x The defendantshall forfeit          defendant'sinterestin the following propertyto the United States:
         Sector Canta Gallo,        , Mameylot 10,Juncos,PuertoRico:
         URBAI{A:   Solar            con el #10 en el Planode Inscripci6n,radicadoen el barrio Mameyde Juncos,
     :__ P.R, con una cabida        'ficial de 11041.10metroscuadrados;en lindespor el norte,en 23.00metros,
         con el solar#8; por el sur en 23.00metros,conla calle#2; por el este,en 45.13metros,con eI solar#11;y
     l.: por el oeste,en 45.40mett Ds.con el solar#9.



 Paymentsshallbe appliedin t} following order:(1) assessment,                                             interest,(4)
                                                                  (2) restitutionprincipal,(3) restitutio-n
 fine principal,(5) fine interest, ) comm[nity             (7)
                                               restitirtion,   penalties,
                                                                        and  (S) costs,
                                                                                      including  cost of prosecution
 and court costs.
